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lN THE UNITED STATES DISTRICT cOURT ' `ED BVL D.C.
FOR THE WESTERN DISTRICT 0F TENNESSEE 05 APR

EASTERN DIVISION l 3 PH |= 26

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UNITED sTATES oF AMERICA "“'hYGMJEON'
vs. cR. No. 1:04-cR-10097-01-T/An

DEMETRIUS CROCKER
ORDER FOR PSYCHOLOGICAL EXAMINATION AND REPORT

This cause came on to be heard onApril 7, 2005. As part of
hearing, defendant, through his counsel, moved for an evaluation
of the defendant to determine his mental competency.

For good cause shown, it is hereby ordered pursuant to
18 U.S.C. § 4247 that a psychiatric or psychological examination
of defendant, Demetrius Crocker, be conducted at an appropriate
federal medical facility to determine his competency to stand
trial. The examination will be conducted pursuant to 18 U.S.C.
§ 4247(b) and a psychiatric or psychological report will be
prepared pursuant to 18 U.S.C.§ 4247(c).

The trial in the above-styled case will not be set until the
court receives the psychiatric report. The ends of justice
served by taking such action outweigh the best interest of the

public and the defendant in a speedy trial.

Th|s document entered on the docket sheet in compliance
with F\‘u|e 55 and/or 32(b) FHCrP on ' "

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The Court finds that the grounds for this delay justify
excluding the period of 4/18/05 until the defendant's next
hearing date under Title 18 U.S.C. § 3161(h)(1)(A).

IT IS SO ORDERED.

 

 

DATE: /YM M`S/

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Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

